Case 4:21-cv-00382-ALM Document 31 Filed 01/07/22 Page 1 of 5 PageID #: 449

                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION


 RORY JUSTIN CYPERS, an individual;

         Plaintiff,                                        Case No.: 4:21-cv-00382-ALM

 v.                                                             Jury Trial Demanded

 BANKCARD CENTRAL LLC, a Texas
 limited liability company; PAYMENT
 HOLDINGS LLC., a Texas limited liability
 company; LARRY DANIELS, an
 individual; REV 19 LLC, a Texas limited
 liability company; and Does 1 thru 20.

         Defendants.



      PLAINTIFF'S REQUEST FOR THE COURT TO SELECT THE MEDIATOR AND
                          REQUEST FOR STATUS CONFERENCE

        Plaintiff Rory Justin Cypers, through his counsel, herby submit this Request for the Court

to Select the Mediator and Request for Status Conference.

        A.      Request for the Court to Select the Mediator

        According to the General Orders 92-16, 14-06 and the Scheduling Order, the Parties are

to select a Mediator by January 7,2022. However, the deadline and case was mistakenly

tenninated on October 6,2021. The case was reopened on November 8, 2021 but the deadlines

are still tenninated. (Exhibit "A"). In light of the deadlines' tennination, and the unknown new

deadlines, Plaintiff hereby requests tthe court to select the mediator, if a new deadline is not set

at the requested status conference. Plaintiff and his counsel are open to mediation but have not

conferred with Defendants or on mediators and their selection.

II



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Case 4:21-cv-00382-ALM Document 31 Filed 01/07/22 Page 2 of 5 PageID #: 450

        B.      Request for Status Conference

        On October 1,2021, Kevin Wiley, counsel for Defendant entities PHI-BCC, LLC and

Payment Holdings LLC , filed a Motion To Withdraw As Attorney Of Record (the "Withdrawal

Motion") [Docket No. 29]. On October 4, 2021 , the court issued a Notice of Deficiency that the

Withdrawal Motion was missing a Certificate of Conference, and therefore should be

disregarded and refiled. However, on October 6,2021 , the action was mistakenly tenninated. On

November 8, 2021, Plaintiffs' office noticed the tennination in error and contacted the court,

Judicial Assistant Terri Scott, who infonned Plaintiffs' office that the case was accidently

tenninated. The case was reopened later that day. However, as of this date, counsel for

Defendant PHI-BCC, LLC, and Payment Holdings LLC has not corrected their deficiency, and

Plaintiff's counsel is unclear at this point as to the contact person or attorney for these entities.

        Given the above, Plaintiff's counsel requests a status conference to address the current

status and to revise the tenninated deadlines.



DATED: January 7, 2022.
                                        By:
                                                          J. Catanzarite
                                                 »<'-'J''*''"'th
                                                 Texas Bar No. 03998600
                                                 CATANZARITE LAW CORPORATION
                                                 23 31 West Lincoln Avenue
                                                 Anaheim, California 92801
                                                 Telephone: (714) 520-5544
                                                 Facsimile: (714) 520-0680
                                                 kcatanzarite@catanzarite.com




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Case 4:21-cv-00382-ALM Document 31 Filed 01/07/22 Page 3 of 5 PageID #: 451




                               Exhibit A
          Case 4:21-cv-00382-ALM Document 31 Filed 01/07/22 Page 4 of 5 PageID #: 452
1/7/22, 12:17 PM                                                        CM/ECF LIVE - U.S. District Court:txed-Filer Query

                                  4:21-cv-00382-ALM Cypers v. Bankcard Central LLC et al
                                                                  Amos L. Mazzant, III, presiding
                                                                     Date filed: 05118/2021
                                                                  Date of last filing: 11/08/2021



                                                                  Deadlines/Hearings

            Doc.                                                                   Event
                                DeadlinelHearing                                                               DuelSet               Satisfied Terminated
            No.                                                                    Filed

            11          Rule 26 Meeting Report Deadlin 0711412021                                        08/18/2021                           10106/2021

            11          Scheduling Conference                                 07114/2021                09/01/2021                            08/24/2021
                                                                                                        at 10:30 AM
                     \) Joinder of Parties Deadline                           08/30/2021                 10113/2021                           10106/2021
            27          Amended Pleadings Deadline                            08/30/2021                 11/24/2021                           10106/2021

           n            Motions Deadline                                      08/30/2021              j 1210812021                            10106/2021

          In            LJ'   ~
                                           vf Mediator due by                 08/30/2021                 01/07/2022                           10106/2021

            27          Mediation Completion Deadline                         08/30/2021                 02/04/2022              I            10106/2021 ...
            27          Discovery Deadline                                    08/30/2021                 02/16/2022                           10106/2021
            27          Proposed Pretrial Order DOL                           08/30/2021                 05/31/2022                           10106/2021
            27          Jury Instructions                                     08/30/2021                 0611612022                           10106/2021

            27          Final Pretrial Conference                             08/30/2021                 06/30/2022                           10106/2021
                                                                                                         at 09:00 AM


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Case 4:21-cv-00382-ALM Document 31 Filed 01/07/22 Page 5 of 5 PageID #: 453

                            CERTIFICATE OF SERVICE

     I hereby certify that a true and correct copy of PLAINTIFF'S REQUEST FOR THE
COURTTO SELECT THE MEDIATOR AND REQUEST FOR STATUS CONFERENCE
has been served on all counsel of record via the Court's ECF system on January 7,2022.

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Jared Tyler Elk
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COURTESY COPY TO COURT VIA OVERNIGHT DELIVERY:
Paul Brown United States Courthouse,
Judge Amos L. Mazzant, III
101 East Pecan Street,
SHERMAN, TX 75090
